Case 1:15-cr-20390-BB Document 5 Entered on FLSD Docket 06/02/2015 Page 1 of 4TB


                                                                                       Jun 2, 2015
                         UNITED STATES DISTRICT COURT
                         SO U TH ER N DISTRICT O F FL O R ID A
                   15-20390-CR-BLOOM/VALLE
                     CA SE N O .
                                    18U.S.C.j1546(a)

UN ITED STA TES O F A M ER ICA

VS.

NO RM A A R AC ELY SIER R A FIG UER O A ,

              D efendant.
                                             /

                                     IN FO R M A TIO N

       The United States A ttorney chargesthat:

       On oraboutM ay 25,2015,atM inm iIntem ationalAirporq in M iami-DadeCounty,in the

Southem DistrictofFlorida,the defendant,

                       N O R M A A M C ELY SIERR A FIG U ERO A ,

didknowinglypossess,use,and attemptto useadocum entprescribedby statuteand regulationfor

entry into the United States,thatis,a United Statesvisa,w hich the defendantknew w asproctlred

by m eansofa falseclaim and false statement,and to havebeen otherw iseprocured byfraud,and

unlawfullyobtained,inviolationofTitle 18,UnitedStatesCode,Section 1546(a).


        >                       r

W IFREDO A .FERRER
UN ITED STA TES A TTORN EY



D IAN E PA TRICK
A SSISTAN T UN ITED STA TES A TTORN EY
                              UNITED STATES
      Case 1:15-cr-20390-BB Document 5 DI   DISTRICT
                                        Entered      COURT
                              SOUTHERN   STRICTon
                                                OFFLSD  Docket 06/02/2015 Page 2 of 4
                                                   FLORIDA

UNITED STATES OF AMERICA                         CASE NO.
VS.
                                                CERTIFIC ATE O F TRIA L ATTO RN EY*
NORMA ARACELY SIERRA FIGUEROA,
        Defendant.
                                        I       Superseding Case Inform ation:

CourtDivision:(SelectOne)                       New Defendantls)                   Yes               No
                                                NumberofNew Defendants
                                                Totalnumberofcounts
  x F
    Mi
     Taumi               vKve)BWest     FTp
        ldo herebycertifythat:
                 Ihavecarefullyconsideredtheallegations9ftheindictmqnt,the numberofdefendants,thenumberof
                 Probable wi
                           tnesses and the Iegalcomplexltiesofthe Indlctm ent/lnformati
                                                                                      on attached hereto.
        2.       lam qwarethatth# informationsuppliedoqthis?tqtemeqtwillbe relied upon bythe Judgesofthis
                 CourtIn setting thelrcal:ndars and schedullng crlmlnaltrl
                                                                         als underthe mandate ofthe SpeedyTrial
                 Act,Ti
                      tle 28 U.S.C.Sectl
                                       on 3161.
                 Iqterpreter:    (Yes9rNo)      Yes
                 LIstIanguage and/ordlalect      panlsh
        4.       This case willtake      0      days forthe padiesto try.
        5.       Please check appropriate category and type ofoffense listed below:
                 (Checkonl
                         yone)                                 (Checkonl
                                                                       yone)
                 0 to 5 days                       X                   Petty
                 6 to 10 days                                          M inor
                 11to 20 days                                          Mi sdem.
                 21to 60 days                                          Felony              X
                 61days and over
        6.       Hasthiscase beenpreviouslyfiled inthisDistrictCourt? (YesorNo)            No
        Ifyes:
        Judge:                                          Case No.
        (Attachcopygfdispositive?rdej
        H
        Ifasacomplalntbeenfiled Inthl smatter?      (YesorNo)          Yes
        M yej:
          aglstrateCaseNo.                   15-mj-2717-PAW
        Related Misc:llaneous num bers:
        Defendantls)lnfederalcustodyasof
        D
          efendantts)Instatecustodyasof
        Rule 20 from the                         ls rlc o
        Isthisa potentialdeath penaltycase?(YesorNo)           M
                                                               N

                 Dr
                 pgl
                   oer
                     stt
                       ohOc
                         iscto
                             as
                              bero1rj
                                   ,
                                    iinatefromamatterpendinginYes
                                      2003?                    theNorthernxRegiNo
                                                                               onoftheU.S.Attorney'sOffice
        8.     Dges this case originate from a matterpending in the CentralRegion ofthe U S.Attorney's Office
                                                                                                .
               prlorto September1,2007?                        Yes             x      No



                                                                   w                            K'

                                                       ASSISTANT UNITED STATES AU ORNEY
                                                       Florida BarNo.0770744

*penal
     ty Sheetts)attached                                                                                  REV4/8/08
Case 1:15-cr-20390-BB Document 5 Entered on FLSD Docket 06/02/2015 Page 3 of 4



                        UNITED STATES DISTRICT COURT
                        SO U TH ER N DIST RICT O F FL O RID A

                                  PEN A LTY SH EET

Defendant'sN am e: N OR M A A R A CELY SIERR A FIG U ER O A

Case N o:

Count#:1
Fraud and M isuseofVisas,Permitssand OtherDocllments

Title 18,United StatesCode,Section 1546(a)
*M ax.Penalty:10 Y ears'Im prisonm ent


 WRefersonly to possible term ofincarceration,does notinclude possible fines,restitution,
         specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
   Case 1:15-cr-20390-BB Document 5 Entered on FLSD Docket 06/02/2015 Page 4 of 4


AO 455(Rev.01/09)WaiverofanIndi
                              ctment

                                U NITED STATES D ISTRICT COURT
                                                    forthe
                                          Southern DistrictofFlorida

              United StatesofAmerica                  )
                           V.                         )     CaseNo.
      NORMA ARACELY SIERRA FIGUEROA,                  )
                                                      )
                       Depndant                       )
                                       W A IV ER O F A N INDICT M EN T

      IunderstandthatIhavebeen accusedofoneormoreoffensespunishableby imprisonmentform orethanone
year.Iwasadvised in opencourtofmy rightsand thenatureoftheproposedchargesagainstme.

       Afterreceiving thisadvice,lwaivemy rightto prosecutionby indictmentand consenttoprosecution by
information.



Date:
                                                                             Defendant'
                                                                                      ssi
                                                                                        gnature



                                                                         Signatureofde#ndant'
                                                                                            sattorney


                                                                       Printednameofdefendant'sattorney




                                                                          Judge'
                                                                               sprintednameand title
